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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


IN RE: G.E. ERISA LITIGATION                         Master File No. 1:17-12123-IT


     STIPULATION OF DISMISSAL WITHOUT PREJUDICE OF JAMIE MILLER

          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), by the stipulation of the

parties, Plaintiffs hereby seek dismissal without prejudice of all claims against Defendant Jamie

Miller, with each party bearing his or her own attorney’s fees and costs in connection with the

action.



SO ORDERED.

DATED: ____________, 2020


                                                       ___________________________________

                                                       Hon. Indira Talwani
                                                       United States District Judge
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Dated: April 28, 2020

 /s/Jason M. Leviton                          /s/ James O. Fleckner

  Jason M. Leviton                             James O. Fleckner (BBO# 641494)
  BLOCK & LEVITON LLP                          Alison V. Douglass (BBO# 646861)
  155 Federal Street, Suite 400                GOODWIN PROCTER LLP
  Boston, MA 02110                             100 Northern Avenue
  Telephone: 617/398-5600                      Boston, MA 02210
  617/507-6020 (fax)                           Tel.: (617) 570-1000
  jason@blockesq.com                           Fax: (617) 523-1231
                                               JFleckner@goodwinlaw.com
  R. Joseph Barton                             ADouglass@goodwinlaw.com
  BLOCK & LEVITON LLP
  1735 20th Street NW                          Counsel for Defendants
  Washington, DC 20009
  Telephone: 202/734-7046
  202/734-7046 (fax)
  Jbarton@blockesq.com


  Liaison Counsel for Plaintiffs


  Mark C. Gardy (admitted pro hac vice)
  Orin Kurtz (admitted pro hac vice)
  GARDY & NOTIS, LLP
  Tower 56
  126 East 56th Street, 8th Floor
  New York, NY 10022
  Telephone: 212/905-0509
  212/905-0508 (fax)
  mgardy@gardylaw.com
  okurtz@gardylaw.com

  Lee Squitieri (admitted pro hac vice)
  SQUITIERI & FEARON, LLP
  32 East 57th Street, 12th Floor
  New York, NY 10022
  Telephone: 212/421-6492
  212/421-6553 (fax)
  lee@sfclasslaw.com




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Evan J. Kaufman (admitted pro hac vice)
Magdalene Economou (admitted pro hac vice)
ROBBINS GELLER RUDMAN
& DOWD LLP
58 South Service Road, Suite 200
Melville, NY 11747
Telephone: 631/367-7100
631/367-1173 (fax)
ekaufman@rgrdlaw.com
meconomou@rgrdlaw.com

Charles H. Field (admitted pro hac vice)
SANFORD HEISLER SHARP LLP
655 West Broadway, Suite 1700
San Diego, CA 92101
Telephone: 619/577-4252
619/577-4250 (fax)
cfield@sanfordheisler.com

Andrew Miller (BBO #682496)
SANFORD HEISLER SHARP LLP
700 Pennsylvania Avenue SE, Suite 300
Washington, DC 20003
Telephone: 202/499-5200
202/499-5199 (fax)
amiller@sanfordheisler.com

Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I, James O. Fleckner, hereby certify that the foregoing document was filed through the ECF
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) on this 28th day of April, 2020.


                                                     /s/James O. Fleckner




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